         Case 1:21-cv-01713-RTH                Document 26           Filed 10/25/21         Page 1 of 2




             In the United States Court of Federal Claims
                                                  No. 21-1713
                                           (Filed: 25 October 2021 1)

***************************************
G4S SECURE INTEGRATION LLC, et al., *
                                        *
                  Plaintiffs,           *
                                        *
v.                                      *
                                        *
THE UNITED STATES,                      *
                                        *
                  Defendant,            *
                                        *
and                                     *
                                        *
GARDA WORLD/                            *
TRANSGUARD GROUP JOINT VENTURE, *
                                        *
                  Defendant-Intervenor. *
                                        *
***************************************

                                                     ORDER

        On 20 October 2021, pursuant to Rule 52.2 of the Rules of the Court of Federal Claims
(“RCFC”), the government filed an unopposed motion to stay all proceedings and voluntarily
remand this case to the Department of State. See Def.’s Unopposed Mot. for Vol. Remand, ECF
No. 24. In its motion, the government states: “[a] remand is appropriate because it will provide
the agency with an opportunity to reconsider the award decision at issue in light of G4S’s
allegations and any new information gathered during the proposed remand.” Id. at 2. The
government asserts “the agency potentially could make decisions that could moot this action, in
whole or in part, and may obviate the need for further litigation in this Court.” Id. The Court
accordingly adopts the parties’ proposed procedure for remand and orders the following:

         1. The Court GRANTS the government’s motion for voluntary remand pursuant to
            RCFC 52.2;




1
 This Order was originally filed under seal on 20 October 2021, ECF No. 25, pursuant to the protective order in this
case. The Court provided the parties the opportunity to review this Order for any proprietary, confidential, or other
protected information and submit proposed redactions. The parties reviewed the Order and informed the Court they
had no proposed redactions. Accordingly, the Court reissues this Order unaltered and without redactions.
Case 1:21-cv-01713-RTH         Document 26        Filed 10/25/21     Page 2 of 2




2. The Court REMANDS this case to the Department of State for reconsideration of the
   award decision and any further administrative actions consistent with that
   reconsideration;

3. The Court authorizes the parties to submit any further information the agency may
   request during the remand in accordance with the procedures set forth in Federal
   Acquisition Regulation 15.306–.307;

4. The remand SHALL terminate on or before 20 December 2021;

5. The Court STAYS all further proceedings in this case pending completion of the
   remand;

6. The parties SHALL FILE a joint status report within five days of the conclusion of
   the remand proceedings, indicating their respective positions on whether the agency’s
   decision affords a satisfactory basis for disposition of this case, or whether further
   proceedings before the Court are necessary and, if so, a proposed date for defendant
   to file the administrative record associated with the remand proceedings, and a
   proposed briefing schedule on the merits for the Court’s consideration.

IT IS SO ORDERED.

                                            s/ Ryan T. Holte
                                            RYAN T. HOLTE
                                            Judge




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